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UNITED STATES DISTRICT COURT
WESTERN DlSTRICT OF WlSCONSIN - s b

 

 

BRIGGS & srRATroN CoRPoRATIoN, . t , j ,§ l
Piaimiff, Cas@ NO. y ` `
VS.
JURY TRIAL DEMANDED
KoHLER Co., 0 5 c 2
Defendant. 0 0 5 C
CoMPLAINT

 

The plaintiff, Briggs & Stratton Corporation, by its attorneys Michael, Best & Friedrich,

LLP, for its complaint against Kohler Co., alleges as follows:
PARTIES

l. PlaintiffBriggs & Stratton Corporation (hereinafter, “Briggs & Stratton”) is a
corporation incorporated under the laws of the State of Wisconsin, having its principal place of
business at 12301 West Wirth Street, Wauwatosa, Wisconsin 53222.

2. Defendant Kohler Co. (hereinafter, “Kohler”) is a corporation incorporated under
the laws of the State of Wisconsin, having a place of business at 444 Highland Drive, Kohler,
Wisconsin 53()44.

JURISDICTION AND VENUE

3. This action arises under the patent laws of the United States, Title 35, United
States Code. This court has subject matter jurisdiction pursuant to 28 U.S.C. §§ l338(a) and
1331.

4. Venue is proper in thisjudicial district pursuant to 28 U.S.C. §§ l39l(c) and

1400(b).

5. Kohler does substantial business in the State of Wisconsin and is subject to

personal jurisdiction in the Western District of Wisconsin.
GENERAL ALLEGATIONS

6. On May 7, 2002, United States Patent No. 6,382,166 (the “166 patent”) was duly
and legally issued to Daniel L. Klika and John H. Thiermann for an invention entitled
BALANCING SYSTEM USING RECIPROCATING COUNTERBALANCE WEIGHT. A
copy of the ‘ 166 patent is attached hereto as Exhibit A and incorporated by reference

7. On October 8, 2002, United States Patent No. 6,46(),502 (the “502 patent”) was
duly and legally issued to Gary J. Gracyalny for an invention entitled ENGINE CYLINDER
HEAD ASSEMBLY. A copy of the ‘502 patent is attached hereto as Exhibit B and incorporated
by reference

8. By virtue of assignment, Briggs & Stratton has acquired and continues to
maintain all right, title and interest in and to the ‘166 and ‘502 patents.

CLAIM 1

9. Paragraphs l through 8 are realleged as though fully set forth herein.

l(). Kohler, without the permission of Bn`ggs & Stratton, has been, and still is,
manufacturing, selling and offering for sale, within the United States, a single-cylinder internal
combustion engine that infringes the ‘166 patent,

ll. On information and belief, Kohler had actual notice of the ‘166 patent, and
Kohler’s infringement of the ‘166 patent has been and continues to be willful and deliberate

emma

l2. Paragraphs l through 8 are realleged as though fully set forth herein.

13. Kohler, without the permission of Briggs & Stratton, has been, and still is,

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manufacturing, selling and offering for sale, within the United States, a single-cylinder internal
combustion engine that infringes the ‘502 patent.

l4. On information and belief, Kohler had actual notice of the ‘502 patent and
Kohler’s infringement of the ‘502 patent has been and continues to be willful and deliberate

WHEREFORE, plaintiff prays that:

l. Kohler be adjudged and decreed to have infringed United States Patent Nos.
United States Patent No. 6,382,166;

2. Kohler be adjudged and decreed to have infringed United States Patent Nos.
United States Patent No. 6,460,502;

3. A permanent injunction be issued restraining and enjoining Kohler, its officers,
agents, attorneys and employees, and those acting in privity or concert with it, from making,
using, selling, offering for sale or importing the infringing engines or engines that are no more
than colorable variants thereof;

3. Kohler be ordered to pay damages adequate to compensate Briggs & Stratton for
Kohler’s infringement of the patents;

4. Kohler be ordered to account for and pay to Briggs & Stratton three (3) times
Briggs & Stratton's actual damages by reason of Kohler’s infringement of said patents, together
with interest thereon;

5. This action be decreed an “exceptional case” within the meaning of 35 U.S.C.
§285 and reasonable attorney fees be awarded to Briggs & Stratton;

6. Costs be awarded to Briggs & Stratton; and

7. Briggs & Stratton be granted such other and further relief as may be proper under

the circumstances

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~H,`
Dated this / 3 day of January, 2005.

MICHAEL BEST & FRIEDRICH, LLP

By:

 

 

D`£vid L. DeBruin,

Charles J. Crueger,

100 East Wisconsin Avenue
Suite 3300

Milwaukee, WI 53202-4108

Attorneys for Plaintiff
Briggs & Stratton Corporation

JURY DEMAND
The plaintiff Briggs & Stratton Company hereby demands a trial by jury of all issues

triable of right by jury.
Dated this l 3 day of January, 2005 .

MICHAEL BEST & FRIEDRICH, LLP

David L. D@Bruin, sBN`i013776
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Milwaul<:ee, WI 53202~4l08

Attorneys for Plaintiff
Briggs & Stratton Corporation

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(12) United States Patent <10) Patent NO.: Us 6,382,166 B1
Klika et al. (45) Date of Patent: May 7, 2002
(54) BALANCING SYSTEM USING 4,407,169 A 10/1983 Menen
RECIPROCATING COUNTERBALANCE 4,440,173 A 4/1934 TS&‘
WEIGHT 4,509,474 A 4/1985 Schmuck
4,628,876 A 12/1986 Fujikawa et al.
(75) mvemors; Daniel L. Kiika, waukesha John H. :§§§§§; § ;j}§§; maj :l‘ al-
Thiermann, Greenfield, both of WI 4:781’156 A 11/1988 Berger et al_
(US) 4,800,852 A 1/1989 Kaudier
‘ 4,819,593 A 4/1989 Bruener et al.
(73) ASSISHCCI B§igg$ & Stra“°n CUFPOFH“OH, 5,335,532 A * 8/1994 Muenerecai. 72/450
deaukee, Wl (US) 5,588,407 A 12/1996 von Essen et ar
5,927,242 A 7/1999 Kollock
( *) Notice: Subject to any disclaimer, the term of this * , .
patent is extended or adjusted under 35 clth by examiner
U'S-C~ 154(b) by 0 days~ Primary Examiner_Tony M. Argenbright
Assistant Examz`ner_Katrina B. Harris
(21) Appl. No.: 09/772,835 (74) Attorney, Agent, or Firm_Michael Best & Friedrich
LLP
(22) Filed: Jan. 30, 2001
7 (57) ABSTRACT
(51) Int. Cl. ................................................. FOZB 75/06
(52) U.s. Ci. ..................... 123/192.2; 74/603 An engine C<>umerbalaucing Sysf¢m has a counterbalance
(58) Field of search .......................... 123/192.2; 74/603 Weighl 1be r¢CiPrOCaICS 1`n a linear manner in OPPOSiliOH 10
piston movement The counterbalance Weight is preferably
(56) References Cited coupled to the crankshaft via two spaced link arms that

engage two respective eccentrics of the crankshaft. The
counterbalance weight is guided by one or more rails that are
formed integrally on the inner surface of the crankcase

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1,738,876 A 12/1929 Edwards et al. hO“Sng~
1,871,899 A 8/1932 Marshall ‘
3,457,804 A 7/1969 Harkness 13 Claims, 5 Drawing Sheets

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U.S. Patent May 7, 2002 sheet 2 of 5 US 6,382,166 B1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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BALANCING SYSTEM USING
RECIPROCATING COUNTERBALANCE
WEIGHT

FIELD OF THE INVENT!ON

The present invention relates generally to internal com~
bustion engines, and more particularly to a reciprocating
counterbalance weight for balancing such an engine.

BACKGROUND OF THE INVENTlGN

This invention relates to a counterbalance weight system
for reducing the vibrational forces in an engine resulting
from piston reciprocation.

A major cause of vibration in an engine is piston recip-
rocation. The piston is started and stopped twice during each
rotation of the crankshaft, and reactions to the forces which
accelerate and decelerate the piston are imposed upon the
engine body as vibration in directions generally parallel to
the piston axis. In installations such as lawn and garden
implements, the engine produces a vibration that is trans-
mitted through the machine to the operator. This vibration is
uncomfortable and could produce operator fatigue. Even in
an installation where there is no element of operator fatigue,
such as sump pumps or portable generators, engine vibration
is undesirable because it causes maintenance problems and
tends to reduce the useful life of the machine

To some extent such vibrations can be decreased by
providing the engine with a counterweight fixed on its
crankshaft, and located at the side of the crankshaft axis
directly opposite the crankpin by which the piston, through
the connecting rod, is connected to the crankshaft. More
commonly, two counterweights may be used on the
crankshaft, one located on each side of the piston axis. In
either case, such a crankshaft counterweight arrangement
produces a net resultant force vector that is diametrically
opposite to the crankpin.

lt is also known to use an additional Counterbalance
weight to further balance the forces due to piston recipro-
cation. Various arrangements are known for such counter-
balance weights, including the use of pivoting and recipro-
cating counterbalance weights

SUMMARY OF 'l`HE INVENTION

An engine balancing system is disclosed in which the
counterbalance weight moves in a linear manner in opposi-
lion to the reciprocating piston.

In a preferred enibodiment, the balancing system includes
a counterbalance weight that is disposed on a second side of
the crankshaft that is generally opposite to the first side on
which the piston is disposed The counterbalance weight
reciprocates in response to rotation of the crankshaft, The
invention further comprises an eccentric formed on the
crankshaft, and at least one link arm that couples the
counterbalance weight to the crankshaft. ln the preferred
embodiment, two spaced link arms are used.

The invention also includes at least one rail intercon»
nected with the crankcase housing such that the counterbal~
ance weight is slidable along the rail. One or two additional
rails may be provided Recesses or slots may be provided in
the counterbalance weight that receive one or more rails. In
an alternating embodiment, one or more rails may be
provided, in addition to guides which keep the counterbal-
ance weight in proper alignnient, but are not themselves
received within the counterbalance weight slots.

An advantage of the present invention is that the coun~
terbalance weight moves in a linear manner in opposition to
the linear motion of thc reciprocating piston, for improved
balancing

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Other features and advantages of the present invention
would be apparent to those skilled in the art from the
detailed description of the invention and the drawings, in
which:

BRIEF DESCRIPT!ON OF THE DRAWINGS

FIG. 1 is a perspective view of a balancing system
according to the present invention

FIG. 2 is a partial side View of the balancing system of
FIG. 1.

FIG. 3 is the top view of an engine crankcase housing
depicting the rails and guides used in the present inventionl

FIG. 4 is a cross sectional side view, taken along line 4~4
of FIG. 6, depicting the rails engaging the slots on the
counterbalance weight.

FIG. 5 is an end view of an engine when the piston is
approaching the bottom dead center position.

FIG. 6 is an end view of the engine when the piston is at
its top dead center position

FIG. 7 is a partial side view of an alternate embodiment
of a balancing system.

FIG. 8 is the top view of an engine crankcase housing
depicting the rails and guides used in the alternate embodi-
ment.

FIG. 9 is a cross sectional side view depicting the rails
engaging the slots on the counterbalance weight of the
alternate embodiment

Before one embodiment of the invention is explained in
detail, it is to be understood that the invention is not limited
in its application to the details of construction and the
arrangemean of the components set forth in the following
description or illustrated in the drawings The invention is
capable of other embodiments and of being practiced or
being carried out in various ways. Also, it is understood that
the phraseology and terminology used herein is for the
purpose of description and should not be regarded as lim-
iting. The use of “including” and “comprising" and varia-
tions thereof herein is meant to encompass the items listed
thereafter and equivalents thereof as well as additional
rtems.

DETAIL DESCRIPTION OF THE INVENTION

FIG. 1 is a perspective view of the invention incorporated
into an engine

In FIG. 1, a crankshaft 10 is journaled in a crankcase
housing 12. The crankshaft has a throw 14 through which the
crankshaft 10 engages a connecting rod 16 (FIG, 5). The
crankshaft also has two eccentrics 18 and 20 disposed on
opposite sides of throw 14. Respective link arms 22 and 24
are coupled between the respective eccentrics and a coun-
terbalance weight 26, Link arms 22 and 24 are preferably
made from an aluminum alloy, which keeps the side to side
forces lower than if the link arms are made from iron.
Counterbalancc weight 26 has two opposed pins 28 to which
the link arms 22 and 24 are connected

Counterbalance weight 26 may have any configuration, as
long its mass is substantially evenly distributed on opposite
sides of a cylinder axis 30 of cylinder 31 (l"lG, 2).

As best shown in FIGS. 3 and 4, counterbalance weight 26
has a centrally disposed slot 32 in its crankcase facing
surface 263 that receives a rail 34 interconnected with
crankcase housing 12. Countcrbalance weight 26 also has
two slots or recesses 36 and 38 in which ride two respective
rails 40 and 42. Rails 40 and 42 arc also interconnected or
formed integral with crankcase housing 12.

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lu alternate embodiments, recesses 36 and 38 may be
eliminated and replaced by flat surfaces which merely guide
counterbalance weight during its reciprocation. ln another
alternative, recesses 36 and 38 may be replaced by slots
similar to slot 32, with slot 32 and rail 34 being eliminated

ln short, only a single rail is required with a corresponding
slot or recess to guide the weight 26, although it may be
desirable to include one or more iiat guide surfaces on both
weight 26 and on the crankcase housing if only a single rail
is used.

Of course, the rail could alternately be formed on weight
26 and the slot or recess formed integral or otherwise
interconnected with the crankcase housing

The position of the rails keeps them at least partially
immersed in the crankcase oil, thereby keeping the rails and
the corresponding slots well lubricated,

As best shown in FIGS. 5 and 6, counterbalance weight 26
moves in a linear manner in opposition to the movement of
piston reciprocation, thereby balancing the forces of the
reciprocating piston.

FIG. 5 depicts the position of counterbalance weight 26
when the piston 27 is nearing its bottom dead center (BDC)
position. In FIG. 5, as the piston moves downward towards
BDC, the crankshaft is rotating in the direction indicated by
arrow 44. At the same time, counterbalance weight 26 is
reciprocating, moving in a linear direction toward crankshaft
10, along rails 34, 40 and 42.

FlG. 6 depicts the piston 27 in its top dead center position.
In this position, counterbalance weight 26 is at the position
that is furthest away from crankshaft 10 and closest to the
inner wall 12a of crankcase housing 12.

FIGS. 7 through 9 relate to a second embodiment of the
invention having a single rail. In all the tigures, like com-
ponents have been given the same numerical designations

In FIG. 7, counterbalance weight 46 is guided by two link
arms 22 and 24, as in the first embodiment However, link
arm 24 is now positioned radially inward of counterbalance
weight portion 46a, to allow a longer, single rail to be used.
By comparison, the embodiment shown in FIG. 2 has the
link arm 24 positioned closer to the crankcase than in the
second embodiment

In FIGS. 7~9, counterbalance weight 46 has an extension
57 in which a slot 58 is formed. An elongated, centrally-
disposed rail 50 formed integral with crankcase 48 rides
within slot 58. The central rail 50 is divided into two sections
50 and 500 with a gap 51 therebetween This gap enables
lubricant to freely flow from one side of the rail to the other

As also shown in FIGS. 8 and 9, crankcase housing 48 has
two spaced, integrally-formed guides 54 and 56 disposed on
opposite sides of rail 50, 50a. Guides 54 and 56 have liat
upper surfaces 55, 59 respectively which engage respective
fiat contact surfaces 60 and 62 ofcounterbalance weight 46.

The entire balancing system may be assembled without
the need for additional apertures being formed in the crank-
case housing, thereby eliminating machining steps, keeping
the part count low, and eliminating the gasket which would
otherwise be used to seal an additional aperture. As a result,
the cost and the likelihood of leaks is minimized

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The balancing system may be used on a wide variety of
engines, including but not limited to single cylinder, vertical
shaft overhead valve engines of the type used in lawn and
garden applications

We claim:

1, A balancing system for an internal combustion engine
having a crankcase housing and a cylinder bore defining a
cylinder axis, the system comprising:

a crankshaft substantially within the crankcase housing,
wherein the cylinder bore is disposed on a first side of
the crankshaft;

a piston disposed in the cylinder bore for reciprocal
movement generally along the cylinder axis in response
to rotation of the crankshaft;

a counterbalance weight disposed on a second side of the
crankshaft that is generally opposite the first side, said
counterbalance weight reciprocating in response to
rotation of the crankshaft; and

a rail interconnected with at least one of said counterbal-
ance weight and said crankcase housing such that said
rail guides said counterbalance weight during recipro-
cation of said counterbalance weight.

2. The system of claim 1, further comprising a link arm

coupling the counterbalance weight to the crankshaft.

3. The system of claim 2, further comprising a throw
portion of the crankshaft, wherein the link arm engages the
throw portion.

4. The system of claim 2, further comprising an eccentric
portion of the crankshaft, Wherein the link arm engages the
eccentric portion.

5. The system of claim 2, wherein the link arm is formed
from an aluminum alloy.

6, The system of claim 1, further comprising two spaced
link arms coupling the counterbalance weight to the crank-
shaft.

7. The system ofclaim 1, further comprising a second rail
interconnected with at least one of the counterbalance
weight and the crankcase housing that guides said counter-
balance weight.

8. The system of claim 7, further comprising a third rail
interconnected with at least one of the counterbalance
weight and the crankcase housing that guides said counter-
balance weight. `

9. 'lhe system ofclaim l, Wherein the rail is substantially
parallel to the cylinder axis.

10. The system of claim 1, wherein the other of said
counterbalance weight and said crankcase housing has a slot
that receives said rail.

11. The system of claim 1, further comprising

a guide surface that engages said counterbalance weight.

12. The system of claim l, wherein said counterbalance
weight moves linearly in opposition to piston reciprocation.

13. The system of claim 1, wherein the mass of said
counterbalance weight is equally distributed on opposite
sides of said cylinder axis

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(12) (10) Patent No.:
Gracyalny (45) Date of Patent: Oct. 8, 2002
(54) ENGINE CYLINDER HEAD ASSEMBLY 4,676,064 A * 6/1987 Narita etal. ............. 123/193.5
6,()26,774 A * 2/2000 Kajihara et al. ....... 123,’184.21
(75) lnventor: Gary J. Gracyalny, Milwaukee, Wl
(US) * cited by examiner
(73) Assignee: Briggs & Stratton Corporatit)n,
Wauwatosa, WI (US) Primary Examiner_Marquerite McMahon
(74) AltorneyJ Agent, or Finn_Michael Best & Friedrich
( * ) Notice: Subject to any disclaimer, the term of this LLP
patent is extended or adjusted under 35
U.s.C. 154(b) by 0 days (57) ABSTRACT
y A cylinder head assembly having a cylinder head and an
(21) APPl- NO~¢ 09/792)256 adapter. The intake cavity of the cylinder head is relatively
y ~. 4 large, and the adapter tills a portion ofthe space in the cavity.
(22) bded` Feb' 24, 2001 The cylinder head has an intake nimmer that decreases in
(65) Prior Publication Data cross-sectional area as it progresses inward from the
US 2002/0117143 Al Aug 29 2002 entrance to the intake port. The adapter has a runner filler
' ’ that decreases in cross-sectional area as it extends away
(51) ........................................ F02F 1/00 from a spacer, and is inserted into the intake runner. The
(52) _____________ 123/193_5 volume of the runner filler is smaller than the volume of the
(58) Field of Search _____________ __ 123/193_5, 184le intake runner, so a cavity is left within the intake runner,
123/184_23 This cavity forms a portion of the intake passageway that
leads from the carburetor to the cylinder The position of the
(56) Referen¢es Cited intake position may he altered to accommodate clearance
problems with devices in Which an engine is incorporated
U.S. PATENT DOCUMENTS
4,300,494 A * 11/1981 Grai£f etal. 123/1935 31 Clalms, 10 Drawing Sheets

 

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ENGINE CYLINDER HEAD ASSEMBLY

FIELD OF THE INVENTION

The present invention relates, generally, to internal com-
bustion engines, and more particularly, to internal combus-
tion engines used in snow blowers, generators, vegetation
cutting devices such as lawn mowers, or other outdoor
power equipment

BACKGROUND OF THE INVENTION

lntemal combustion engines are a common power source
for various types of outdoor power equipment, such as lawn
mowers or lawn tractors In the engine industry, the engine
manufacturer is usually different than the original equipment
manufacturer (“OEM”). The engine manufacturer typically
supplies engines to several different OEMs, all of which
have different requirements for the location and placement
of the engine Redesigning engines to fit into confined
spaces of existing OEM devices, such as lawn mowers or
lawn tractors, significantly increases costs for the engine
manufacturer. 'lhus, it is desirable for an engine manufac-
turer to have a flexible engine design and manufacturing
method which can be easily modified to make engines that
accommodate a variety of existing devices

Cylinder heads for engines are commonly made using a
die casting method When die casting, it is cost elfective to
maximize the number of parts fabricated with each die tool,
and to use simple, compact die tools Therefore, the layout
of the die tool is an important factor in designing a part Die
casting prior art cylinder heads often requires an intake
runner core or insert that must be inserted diagonally
(“diagonal slide”) relative to the die opening direction. A
diagonal slide can create a variety of parts, but it makes the
tooling more complex and requires extra space and limits the
number of parts each tool can make at the same time. Using
straight slides, which move transverse to the die opening
direction, restricts some prior art design options, but maxi-
mizes the efhciency of each die tool.

SUMMARY OF THE INVENTION

The present invention solves some of the problems of
redesigning engines to fit existing ()EM devices by forming
an intake runner cavity that is relatively large, and then
filling at least some of the cavity space with a runner filler
to form and position the intake passageway as desiredl The
present invention allows the same die tool to make cylinder
heads with different intake positions The cylinder heads are
also die cast using straight slides to maximize the number of
parts made with each simple, compact die tool.

An important factor when an OEM selects an engine to
use on a specific device is the location of certain engine
parts, such as the intake position, mounting brackets, and
drive shaft. An engine may not be compatible with an OEM
device (e.g. a lawnmower deck) because existing features of
the device interfere with parts of the engine For example,
there may not be enough room near the engine’s intake
position for a carburetor and fuel tank. This invention
provides the flexibility to alter the intake position of an
engine without redesigning the engine This invention also
enables a cylinder head incorporating the invention to be
readily connected to a carburetor which would otherwise be
at a diH`erent elevation than the intake passageway.
Theret`ore, the engine can be used on a wider range of OEM
devices

The cylinder head assembly of the present invention
includes a cylinder head and an adapter. The cylinder head

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has an entrance, an intake runner, and an intake port. The
entrance is an opening on a side of the cylinder head. The
intake runner, which connects the entrance to the intake port,
decreases in cross-sectional area from the entrance to the
intake port, The intake port is disposed between the intake
runner and the combustion chamber

The adapter is interconnected with the cylinder head and
includes an inlet, a spacer, and a runner tiller which is
disposed within the intake runner. The inlet receives the
air/fuel mixture from the carburetor. The spacer lies against
the face of the cylinder head and acts as a thermal insulator
for the carburetor. The runner filler is disposed within the
cylinder head and at least partially forms the intake pas-
sageway that leads from the inlet to the intake port, and has
a substantially uniform cross-sectional area

ln a preferred embodiment, the entrance is elliptical in
cross-sectional shape The intake runner cross-sectional area
decreases between the elliptical entrance and the circular
intake port. The adapter inlet is preferany a cylindrical
opening that opens into the intake passageway The runner
tiller is disposed within the intake runner, and at least part of
the intake passageway surface is defined by the intake
runner and runner tiller. The crosssectional area of the intake
passageway is substantially circular and substantially uni-
form.

In another embodiment, the entrance and intake runner
can be of any shape At the pentrance, the height dimension
is larger than the width dimension As the intake runner
progresses from the entrance towards the intake port, the
height dimension decreases until it is substantially the same
as the width dimension

In another embodiment, the entrance could be circular in
cross-section, and the intake runner could be circular in
cross-section at least near the entrance. The entrance could
possibly be any shape, although an important factor is how
the shape of the intake passageway affects the How of the
air/fuel mixture The intake runner cross-sectional area
could decrease in any manner, but again, an important factor
is how the shape affects the air/fuel How in the intake
passageway

In another embodiment of the present invention, at least
a portion of the intake passageway is entirely enclosed
within the runner filler. The runner tiller completely defines
at least a segment of the intake passageway between the inlet
and the intake port. The intake runner may be any shape as
long as the intake passageway maintains a substantially
uniform cross-sectional area in the runner filler, and leading
from the inlet to the intake port.

Another alternate embodiment of the present invention
changes the orientation of the intake runner and adapter ln
a preferred embodiment discussed above, a line containing
the height dimension of the entrance is substantially trans-
verse to a longitudinal axis of a piston cylinder, ln this
alternate embodiment, a line containing the height dimen-
sion of the entrance is substantially parallel to a longitudinal
axis of a piston cylinder, The intake runner and adapter may
also be oriented at any angle between those two locations

In a carburetor engine, the air/fuel mixture is regulated by
the carburetor, and anything that disrupts the air/fuel flow in
the intake passageway of a carburetor engine may reduce
engine eliiciency by creating flow losses or by altering the
air/fuel mixture.

The present invention provides a substantially straight and
uniform passageway from the carburetor to the cylinder,
This objective is achieved by altering the intake position
while maintaining a relatively short and straight intake
passageway

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”lhe ability to alter the cylinder head’s intake position
allows the engine manufacturer to use existing engine
designs for different OEM devices This feature of the
invention reduces costs for the engine manufacturer and
OEMs and increases flexibility to adapt an engine to an
OEM device

Other features and advantages of the invention will
become apparent to those skilled in the art upon review of
the following detailed description, claims and drawings

BRIEF DESCRIPTION OF THE DRAWINGS

ln the drawings, wherein like reference numerals indicate
like parts:

FIG. 1 is an end view of the cylinder head assembly and
carburetor according to a preferred embodiment of the
present invention;

FIGr 2 is an exploded view of the cylinder head assembly
shown in FIG. 1, illustrating the adapter and the cylinder
head;

FIG. 3 is a cross-sectional view of the cylinder head
shown in FIG. 2, illustrating the intake runner;

FIG. 4 is a cross-sectional view of the cylinder head
assembly shown in FIG, 2, illustrating the runner tiller
within the intake runner;

FIG, 5 is a cross-sectional view of the adapter;

FIG. 6 is a perspective view of the adapter shown in FIG,
2, illustrating the spacer and runner iiller;

FIG. 7 is a perspective view of the adapter shown in FIG.
2, illustrating the spacer and inlet,'

FlG. 8 is a side view of an alternate embodiment of the
cylinder head with the position of the intake runner and
adapter changed;

FIG. 9 is a cross-sectional view of the cylinder head
assembly with the intake passageway at least partially
enclosed within the runner filler.

FIGr 10 is a cross-sectional view of the adapter shown in
FIG. 9;

FIG. 11 is a perspective view of the adapter in the
alternate embodiment shown in FIG, 9, illustrating the
spacer and runner filler;

HG. 12 is a perspective view of an alternate embodiment
of the cylinder head assembly; A

FIG. 13 is a schematic representation of four cylinder
heads which are capable of being produced using one
compact die tool and one die casting machine

Before the embodiments of the invention are explained in
detail, it is to be understood that the invention is not limited
in its application to the details of construction and the
arrangements of components set forth in the following
description or illustrated in the drawings The invention is
capable of other embodiments and of being practiced or of
being carried out in various ways. Also, it is to be understood
that the phraseology and terminology used herein is for the
purpose of description and should not be regarded as lim-
iting.

DETAILED DESCRIPTION

A preferred embodiment of the cylinder head assembly 2
of the present invention is illustrated in FIG. 1 as it would
appear in an engine The present invention may be used with
any conventional engine and cylinder head. One such cyl-
inder head 4 is shown by way ofexample only in the figures
The cylinder head assemny 2 is typically connected to a

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conventional carburetor 8 and a cylinder 44, and forms an
end of a combustion chamber 46. The carburetor 8 creates
the proper air/fuel mixture and is connected to the adapter 6
at the inlet 22. As shown in FlG. 4, the air/fuel mixture
proceeds into the inlet22 and through the intake passageway
42, In FIG. 1, the air/fuel mixture then passes through the
intake port 10 and into the combustion chamber 46 of the
cylinder 44. The cylinder head 4 also includes an exhaust
port 48, an exhaust passageway 50 and a spark plug hole 52.

As illustrated in FIGSr 2 and 4, the cylinder head assem-
bly 2 includes a cylinder head 4 and an adapter 64 The
cylinder head 4, as can best be seen in FIGS. 2 and 3,
includes an entrance 12, an intake runner 14, and an intake
port 10. Preferably, the entrance 12 has an elliptical shape
and is on a side face of the cylinder head 4 (FIG. 2). The
entrance 12 has a height dimension (h) and a width dimen-
sion (w). In this preferred embodiment, a line containing the
height dimension (h) is substantially transverse to a longi-
tudinal axis of a piston cylinder. The intake runner 14 starts
at the entrance 12, and the cross-sectional area of the intake
runner 14 preferably decreases as the intake runner 14
approaches the intake port 10. As the intake runner 14
progresses from the entrance 12 to the intake port 10, the
height dimension (h) preferably decreases until it is approxi-
mately equal to the width dimension (w).

The intake runner 14 preferably has a straight side 16 and
an inclined side 18. The straight side 16 preferably has a
surface of a segmented cylinder. The inclined side 18
preferably has a semi-circular cross section and begins at the
end of the entrance opposite the straight side 16, The
distance between the inclined side 18 and the straight side 16
preferably decreases as they approach the intake port 10.
The intake port 10 is disposed between intake runner 14 and
the cylinder 44 (FIG. 1), and permits the intake runner 14 to
be in tiuid flow communication with the cylinder 44 (FIG.
1).

As shown in detail in FIGS. 5, 6 and 7, the adapter 6
includes an inlet 22, spacer 24, and runner tiller 26. One with
ordinary skill in the art will recognize that the adapter 6 can
be made out of several materials using various methods of
manufacture In the preferred embodiment, the adapter 6 is
made of plastic using injection molding.

As illustrated in FIG. 7, the inlet 22 is preferably an open
cylindrical extension with a substantially circular cross-
sectional area. The inlet 22 is preferably long enough to
interconnect to the carburetor 8.

In FIG. 6, the cylindrical opening of the inlet 22 continues
through the spacer 24 to from the spacer opening 20. The
surface of the spacer 24 with the runner filler 26 preferably
lies against a face of the cylinder head 4. The spacer 24 may
be solid or hollow and the thickness may vary, as long as the
spacer provides adequate thermal insulation for the carbu-
retor 84 The thickness of the spacer 24 in the preferred
embodiment is approximately 0.35 inches

The runner tiller 26 preferably has two side surfaces 32,
a contact surface 28, and a passage surface 30. Preferably,
thc contact surface 28 has the shape of a segmented cylinder
and extends substantially normal from the spacer 24, The
passage surface 30 preferably has a semi-circular cross-
section and intersects the contact surface 28 at the end of the
runner tiller 26, When viewed from the side, as in FIG. 5, the
runner filler 26 in the preferred embodiment has a substan-
tially triangular profile Preferably, the edges of the passage
surface 30 have a slight radius near the spacer 24 and near
the end of the runner tiller 26, 'lhese slight curves smooth
the change in direction of the intake passageway 42 (FlG. 4).

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ln an alternate embodiment, the side profile of the runner
filler 26, as viewed similar to FIG. 5, could be a quarter
circle shape, or any other similar shape, as long as the
cross-sectional area of the intake passageway 42 (FIG. 4)
remains substantially uniform.

As illustrated in FIG. 2, the adapter 6 is preferably
fastened to the cylinder head 4 with bolts 34 that pass
through the bolt apertures 36 and into the threaded apertures
38. One skilled in the art will recognize that any suitable
fasteners may be used to attach the adapter 6 to the cylinder
head 4.

As shown in FIG. 4, the runner filler 26 is at least partially
disposed within the intake runner 14 and decreases in
cross-sectional area as it extends away from the spacer 24.
Together the inclined surface 18 and the passage surface 30
preferably define at least a 30 portion of the intake passage-
Way 42. The intake passageway 42 is preferably a substan-
tially tubular shaped conduit that extends from the inlet 22
to the intake port 10, Preferably, the intake passageway 42
has a substantially uniform cross-sectional area that is
substantially the same size as the cross-sectional area of the
inlet 22.

FIG. 8 shows an alternate embodiment where the intake
runner and adapter 106 are oriented approximately 90
degrees from the position depicted in FIG. 2, ln the embodi-
ment in FIG. 8, a line containing the height dimension h1 of
the entrance is substantially parallel to a longitudinal axis of
a piston cylinder. The actual orientation of the intake runner
and adapter 106 to the cylinder head 104 is not critical to the
invention. This alternate embodiment allows more options
when fitting engines to existing GEM devices, and generates
different and improved intake flow characteristics. The angle
at which the intake runner can be oriented is only limited by
the constraints of the other features of the engine or OEM
device which may interfere with the intake runner, such as
valves guides, mounting holes, or carburetor or fuel tank
location, as well as die construction

Another alternate embodiment is shown in FIG. 9 where
a section of the intake passageway 242 is completely
enclosed within the runner filler 226. In this embodiment the
runner filler 226,completely surrounds the spacer opening
220 and entirely defines at least a segment of the intake
passageway 242. Only the adapter 206 must be changed to
accommodate a slightly different intake position for the
engine. Adapters with different intake positions can be used
with cylinder heads 4 made with the same intake runner 14.
The intake passageway 242 of a conventional cylinder head
is usually completely defined by the cylinder head and
positioned approximately where the straight side 16 is
located in the present invention. ln the preferred embodi-
ment of this invention, the inlet 222 is positioned near the
inclined side 18 of the intake runner 14. This alternate
embodiment allows the inlet 222 to be positioned anywhere
along the entrance 12. Changing the location of the inlet 222
and enclosing a portion of the intake passageway 242 within
the runner filler 226 omits adapters with an inlet position
along this entire range to be used with the same cylinder
head 4.

FIGS. 10 and 11 illustrate the adapter 206 ofthis alternate
embodiment in more detail. ln FIG. 11, a section of the
intake passageway 242 is completely enclosed within the
runner tiller 226. The entire length of the runner filler 226
encloses a portion of the intake passageway 242, however
any length of an enclosed segment of the runner filler 226
would be possible. The inlet 22 could also be at any point
along lheadapter-206 such that the intake passageway 242
still passes through the entrance of the intake runner,

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FIG. 12 illustrates another alternate embodiment of the
cylinder head assembly 302. ln this embodiment, the intake
runner 314 and the runner tiller 326 have a substantially
circular cross-section The cross-sectional area of the intake
runner 314 preferably decreases as the intake runner 314
progresses inward from the entrance 312. The intake runner
314 and runner filler 326 may have a substantially conical
shape. The intake passageway 342 may be enclosed by the
runner fuller 326. This embodiment allows the inlet 322 to be
located at almost any point on the face of the spacer 324, as
long as liuid losses are minimized and as long as the inlet
322 passes though the spacer 324 to interseet with the intake
passageway 342 within the runner filler 326. Therefore, a
greater range of intake potions are possible by only changing
he adapter-306 and rising the same cylinder head 304. Other
variations are also possible with the cross-section of the
intake runner 314 and runner 326 being any shape between
an ellipse and circle

FIG. 13 depicts a layout for the die used to manufacture
cylinder heads 4 according to the present invention The
cylinder head 4 is preferably designed to permit four cylin-
der heads 4 to be produced using one compact die tool and
one die casting machine. The cylinder head is designed to
include walls which allow for the needed draft angles given
different orientations for each cylinder head within the die
tool. The draft angles enable the cylinder head 4 to readily
separate from the die. The cylinder head 4 is preferably
designed to permit slide tooling access (i.e., the intake
runner and exhaust passageway) when four cylinder heads
are fabricated from one tool.

In FIG. 13, the die is formed so that the spark plug holes
52 of corresponding cylinder heads 4 are adjacent to each
other. The die is arranged so that the inserts which form the
cavity of the intake runner 14 move in direction A, and the
inserts which form the exhaust passageway 36 move in
direction B, ln a preferred embodiment, the die is positioned
so that the directions A and B alternate in adjacent cylinder
heads.

By positioning the cylinder heads 4 in the manner
described, the inserts used to form the cylinder heads are
moved only along two directions, i.e., in directions A and B.
This die configuration reduces the overall space required to
make the cylinder heads 4, while still enabling four cylinder
heads 4 to be made at the same time.

The embodiments described above and illustrated in the
drawings are presented by way of example only and are not
intended as a limitation upon the concepts and principles of
the present invention As such, it will be appreciated by one
having ordinary skill in the art that various changes in the
elements and their conliguration and arrangement are pos-
sible without departing from the spirit and scope of the
present invention as set forth in the appended claims

What is claimed:

1. A cylinder head assembly for an internal combustion
engine comprising:

an intake port;

an intake runner that receives at least one of air and fuel,

said intake runner including:

an entrance;

a section having a first end nearer said entrance and
having a second end nearer said intake port;

an adapter having a runner filler disposed within said

intake runner;

an intake passageway having a substantially uniform

cross-sectional area created at least in part by said
runner liller; and

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wherein the cross-sectional area of said intake runner
decreases from said entrance to said intake port.
2. Aeylinder head assembly according to claim 1, wherein
said intake runner includes:
an inclined surface with a senn-circular cross section; and

a straight surface with the shape of an interior surface of
a segmented cylinder.

3. Acylinder head assembly according to claim 1, wherein
said runner filler has a contact surface with the shape of an
exterior surface of a segmented cylinder.

4. Aeylinder head assembly according to claim 1, wherein
said intake passageway is formed by said section and said
runner Hller.

5. A cylinder head assembly according to claim 1, wherein
said entrance is elliptical in shape

6. Acylinder head assembly according to claim 1, wherein
said entrance has a eight dimension and a width dimension,
said height dimension being greater than said width dimen-
sion.

7. Acylinder head assembly according to claim 6, wherein
a line including said height dimension is substantially trans-
verse to a longitudinal axis of a piston cylinder,

8. Acylinder head assembly according to claim 6, wherein
a line including said height dimension is substantially par-
allel to a longitudinal axis of a piston cylinder.

9. Acylinder head assembly according to claim 1, wherein
said entrance is substantially circular in shape.

10. A cylinder head assembly according to claim 17
wherein said entrance has a height dimension and a width
dimension, said height dimension being substantially the
same as said width dimension

11. A cylinder head assembly according to claim 1,
wherein said cylinder head assembly includes a cylinder
head, and said adapter thermally insulates a carburetor from
said cylinder head.

12. A cylinder head assembly according to claim ll,
wherein said adapter has a spacer that thermally insulates a
carburetor from said cylinder head.

13. A cylinder head assembly according to claim 1,
Wherein said adapter has a substantially cylindrical inlet.

14. A cylinder head assembly according to claim l,
wherein said intake passageway has a portion that is com-
pleter formed by said runner filler.

15. A cylinder head assembly for an internal combustion
engine comprising:

an intake port;

an intake runner that receives at least one of air and fuel,

said intake runner including:

an entrance;

a section having a first end nearer said entrance and
having a second end nearer said intake port;

an adapter having a runner tiller positioned in said intake

runner; and

an intake passageway disposed within said intake runner

and at least partially defined by said runner filler,
wherein the position of said intake passageway is
selectablc based upon at least one of the position and
the configuration of said runner tillcr.

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16. The cylinder head assembly of claim 15, wherein said
intake passageway has a substantially uniform cross-
sectional area.

17. The cylinder head assembly of claim 15, wherein the
cross-sectional area of said intake runner decreases from
said entrance to said intake port.

18. The cylinder head assembly of claim 15, wherein said
entrance is substantially elliptical in shape.

19. The cylinder head assembly of claim 15, wherein said
cylinder head assembly includes a cylinder head, and
wherein said adapter thermally insulates a carburetor from
said cylinder head,

20. The cylinder head assembly of claim 19, wherein said
adapter includes a spacer that thermally insulates said car-
buretor from said cylinder head.

21. The cylinder head assembly of claim 15, wherein said
adapter includes a substantially cylindrical adapter inlet.

22. A cylinder head assembly for an internal combustion
engine comprising:

an intake port;

an intake runner that receives at least one of air and fuel,

said intake runner including an entrance having a
height dimension that is greater than a width dimension
of said entrance;

an adapter having an inlet, and having a runner filler

positioned in said intake runner; and

an intake passageway at least partially defined by said

runner filler, said intake passageway extending from an
inlet near said entrance, wherein the position of said
inlet is selectable along said height dimension

23. The cylinder head assembly of claim 22, wherein the
cross-sectional area of said intake runner decreases from
said entrance to said intake port.

24. The cylinder head assembly of claim 22, wherein said
intake passageway has a substantially uniform cross-
sectional area.

25. The cylinder head assembly of claim 22, wherein the
cross-sectional area of said intake passageway is less than
the cross sectional area of said intake runner.

26. The cylinder head assembly of claim 22, wherein the
cross-sectional area of said inlet is less than the cross-
sectional area of said entrance

27. The cylinder head assembly of claim 22, wherein said
entrance is substantially elliptical in shape

28. The cylinder head assembly of claim 22, wherein said
cylinder head assembly includes a cylinder head, and said
adapter thermally insulates a carburetor from said cylinder
head.

29. The cylinder head assembly of claim 27, wherein said
adapter includes a spacer that thermally insulates said car-
buretor from said cylinder head.

30. The cylinder head assembly of claim 26, wherein said
adapter includes a substantially cylindrical adapter inlet

31. The cylinder head assembly of claim 22, wherein the
position of said intake passageway is selectable based upon
at least one of the position and the configuration of said
runner liller.

